        EXHIBIT A17




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      1                   IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
      2                            EASTERN DIVISION

      3
          ANTHONY DALE, BRETT JACKSON,           )
      4   JOHNNA FOX, BENJAMIN BORROWMAN,        )
          ANN LAMBERT, ROBERT ANDERSON,          )
      5   and CHAD HOHENBERY on behalf of        )
          themselves and all others              )
      6   similarly situated,                    )
                                                 )
      7                        Plaintiffs,       )
                                                 )      No. 22 C 3189
      8                  vs.                     )      Chicago, Illinois
                                                 )      February 6, 2024
      9   DEUTSCHE TELEKOM AG, et al.,           )      9:25 a.m.
                                                 )
     10                        Defendants.       )

     11
                          TRANSCRIPT OF TELEPHONIC PROCEEDINGS
     12
                        BEFORE THE HONORABLE THOMAS M. DURKIN
     13
          APPEARANCES:
     14
          For the Plaintiffs:             HAUSFELD
     15                                   600 Montgomery Street
                                          Suite 3200
     16                                   San Francisco, California 94111
                                          BY: MR. GARY I. SMITH, JR.
     17
                                          BERGER MONTAGUE, PC
     18                                   1818 Market Street
                                          Suite 3600
     19                                   Philadelphia, Pennsylvania 19103
                                          BY: MR. ERIC L. CRAMER
     20
                                          BERGER MONTAGUE, PC
     21                                   2001 Pennsylvania Avenue, NW
                                          Suite 300
     22                                   Washington, D.C. 20006
                                          BY: MR. ROBERT E. LITAN
     23
          Official Court Reporter:        JENNIFER COSTALES, CRR, RMR, CRC
     24                                   219 S. Dearborn St., Room 1928
                                          Chicago, Illinois 60604
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      1   APPEARANCES:     (Continued)

      2   For the Plaintiffs:             LIEFF CABRASER HEIMANN &
                                          BERNSTEIN, LLP
      3                                   275 Battery Street
                                          29th Floor
      4                                   San Francisco, California 94111
                                          BY: MR. BRENDAN P. GLACKIN
      5                                        MR. LIN YEE CHAN
                                               MR. NICHOLAS W. LEE
      6
          For the Defendants:             K&L GATES LLP
      7                                   70 West Madison
                                          Suite 3100
      8                                   Chicago, Illinois 60602
                                          BY: MR. CLIFFORD C. HISTED
      9

     10                                   GIBSON, DUNN & CRUTCHER LLP
                                          One Embarcadero Center
     11                                   Suite 2600
                                          San Francisco, California 94111
     12                                   BY: MS. RACHEL S. BRASS

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            1        (Proceedings in open court - parties via teleconference)

            2             THE COURTROOM DEPUTY:         22 CV 3189, Dale versus

            3   Deutsche Telekom.

            4             May I please ask the attorney present on behalf of

09:25:27    5   the plaintiff to state their name.

            6             MR. SMITH:    This is Gary Smith with Hausfeld LLP on

            7   behalf of the plaintiffs.        Also on the line are Brendan

            8   Glackin, Lin Chan and Nicholas Lee with Lieff Cabraser and

            9   Robert Litan with Berger Montague for the plaintiffs.

09:25:45   10             THE COURTROOM DEPUTY:         And on behalf of T-Mobile,

           11   please.

           12             MR. HISTED:       Good morning, Your Honor.        For T-Mobile,

           13   this is Cliff Histed with KL gates.            And I'm joined this

           14   morning by my colleague Rachel Brass from Gibson, Dunn.

09:25:58   15             MS. BRASS:    I'm here, Your Honor.

           16             THE COURT:    Good morning.

           17             THE COURTROOM DEPUTY:         And on behalf of Softbank

           18   Group Corporation?

           19             THE COURT:    All right.       Well, they're --

09:26:15   20             MR. SMITH:    They were dismissed, Your Honor, so I

           21   think they might --

           22             THE COURT:    Yeah, I realize they probably won't be

           23   attending this for fear they might be dragged back in.                So

           24   okay.

09:26:24   25             MR. SMITH:    I think that's probably right.




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            1             THE COURT:    All right.     Well, thank you all for

            2   coming on and being patient.

            3             You filed a joint status report on January 30th at

            4   document 154.    It was very comprehensive, and I appreciate all

09:26:36    5   the work that went into it and the cooperation the parties

            6   evidenced by going through it.

            7             You largely agreed on many of the key issues.             You

            8   have one disagreement we'll get to in a minute.            But you all

            9   agreed on a fact discovery cut-off of November 13, 2025.              And

09:26:58   10   that seems reasonable given the fairly complicated and

           11   extensive scope of discovery in this case.

           12             At page 3, there was a reference to having a status

           13   conference every 60 days.      I think that's a good idea.

           14             The parties differ on whether a joint status report

09:27:15   15   should be filed 7 days before each status conference.              I'm

           16   going to ask you to do that.

           17             T-Mobile's concern that raising any disputes in the

           18   status report encourages parties from reaching resolution

           19   without Court intervention, I think it does the opposite

09:27:30   20   because no one wants to, I hope, include in status reports

           21   things that should have been resolved by the parties without

           22   Court intervention.

           23             If it's a problem that is raised in a status report

           24   that should have been resolved after a meet and confer, I'll

09:27:48   25   simply tell you to go back and meet and confer before I have




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            1   to consider it.

            2             But an updated status report that tells me what is

            3   going on and also has a proposed agenda, if there is any

            4   reason, things we ought to address in each call I find to be

09:28:06    5   very helpful.    I've done that in some other large cases, and

            6   it encourages having efficient updates on the case.

            7             So we will do status conference calls every 60 days

            8   and a joint status report filed 7 days before that.

            9             If the status report is nothing more than a few lines

09:28:28   10   saying "We're proceeding as planned," that's just fine.              And

           11   if it turns out the parties believe a status call is

           12   unnecessary in light of the fact that you are proceeding as

           13   planned and as scheduled, contact my courtroom deputy and say

           14   the parties don't believe one is necessary at that 60-day

09:28:48   15   interval and that we ought to set it up for 60 days after.

           16   But in the meantime we'll just keep it at a 60-day status.

           17             The biggest disagreement, really only disagreement in

           18   this joint status report is whether merits and class expert

           19   reports should be separated or proceed on the same track.

09:29:06   20             This case is already going slowly in my mind.             I

           21   believe there should only be one expert discovery period.                  I

           22   think bifurcation will cause undue delay.           It's going to lead

           23   to some inefficiencies and in my experience endless disputes

           24   about whether certain discovery is class versus merits, expert

09:29:26   25   discovery is class versus merits.




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            1              The schedules that the parties have proposed, expert

            2   discovery doesn't begin until December 2025.           That's almost

            3   two years from now.    And if events occur that make this ruling

            4   that there will be no bifurcation of expert discovery, if

09:29:44    5   events occur that make that ruling something that ought to be

            6   reconsidered, you can ask for me to reconsider it, and if

            7   there is good reason to do so, I'll certainly reconsider.

            8              But at this stage, I just don't see any reason to

            9   bake into a schedule something that I think is going to cause

09:30:01   10   unnecessary delay.

           11              I'm going to ask the parties to by Friday submit a

           12   joint expert discovery schedule consistent with my ruling

           13   today.    And if you can reach agreement on the dates, terrific.

           14   It may be what the plaintiffs are already proposing.             It may

09:30:22   15   be something closer, at least in dates, to what T-Mobile is

           16   proposing.   Hopefully it's something that you all can agree

           17   upon, possibly a middle ground or possibly what the plaintiffs

           18   are proposing.

           19              If you can't agree on the dates for combined merits

09:30:39   20   and class expert discovery, note your disagreements in the

           21   submission you make Friday, and I'll resolve those without any

           22   phone call or further briefing.        I'll simply resolve it and

           23   give you dates that you can then use when you are retaining

           24   experts and scheduling out the various tasks you are going to

09:31:01   25   have in this case.




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            1             Any questions from plaintiff?

            2             MR. SMITH:    No, Your Honor.         Thank you.

            3             THE COURT:    Any questions from defendants?

            4             MS. BRASS:    No, Your Honor.         Thank you.

09:31:13    5             THE COURT:    Okay, very good.         We'll look forward to a

            6   submission, a very brief submission on Friday consistent with

            7   what I've just talked about, and we'll go from there.                And we

            8   will set a status date in 60 days.

            9             Emily, do you have a date you can give them right

09:31:29   10   now?

           11             THE COURTROOM DEPUTY:         We can say April 5th at 9:15.

           12             THE COURT:    How does that work for plaintiff?

           13             MR. SMITH:    We'll make it work, Your Honor.

           14             THE COURT:    All right.       And for defendant?

09:31:41   15             MS. BRASS:    We will do the same, Your Honor.

           16             THE COURT:    Okay.      Very good.     Anything else we need

           17   to discuss, first from plaintiffs?

           18             MR. SMITH:    No, Your Honor, nothing else from

           19   plaintiffs' perspective.

09:32:01   20             THE COURT:    And from defendants?

           21             MS. BRASS:    Your Honor, nothing else here.

           22             THE COURT:    Okay.      Thank you all for being patient.

           23   Sorry we didn't get to you earlier.            Take care.

           24             MR. SMITH:    Thank you, Your Honor.

           25             MR. HISTED:       Have a good day, Judge.




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      1         (Proceedings concluded)

      2                           C E R T I F I C A T E

      3              I, Jennifer S. Costales, do hereby certify that the

      4   foregoing is a complete, true, and accurate transcript of the

      5   proceedings had in the above-entitled case before the

      6   Honorable THOMAS M. DURKIN, one of the judges of said Court,

      7   at Chicago, Illinois, on February 6, 2024.

      8

      9                                /s/ Jennifer Costales, CRR, RMR, CRC

     10                                Official Court Reporter

     11                                United States District Court

     12                                Northern District of Illinois

     13                                Eastern Division

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